-\ “CRGNINAL COMPLAINT

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Case 3:23-cv-00017-HEH Document 1-8

©ommonwealth of Virginia.

RULES 3A:3 AND 7€:3

sm ET RBASOWR Co {vente ond Descnn

CITY OR COUNTY

Under penalty of perjury, I,

[ ] Juvenile and Domestic Relations District Court

the undersigned Complainant swear or affirm that I have reason to believe that the

at committed a criminal offense, on or about

aul 2) in theL-7City [ ] County [ } Town

hald.om

Salnduy da, 20+Sigl

The statements above are true and aceurate to the best of my knowledge and belief.

In making this complaint, I have read and fully understand the following:
® By swearing to these facts, I agree to appear in court and testify if a warrant or summons is issued.

© The charge in this warrant cannot be dismissed except by the court, even at my request.
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had fH NACA A recsnessirsrcse _ Tamla. y h

LAINANT (LAST, FIRST, MIDDLE)

B OF CO)
(PRINT CLEARLY)

Subscribed and swom to before me this day.

. DATE AND TIME

“"“SREVISED OW/11 — (A183802 4/18)
~.

SIGNATURE OF COMPLARANT

i

CRIMINAL COMPLAINT

ACCUSED: Name, Description, Address/Location

E, M] Ts
PWC co

COMPLETE DATA BELOW IF KNOWN

RACE] SEX BORN

w | 8 51 301 eet

EM 2 ZN ©, 2277 hes

WF 4 573 Ream B

[ ] Complainant is not a law-enforcement officer or
animal control officer, Authorization prior to
issuance of felony arrest warrant given by

[ ] Commonwealth’s attorney
P& Law-enforcement agency having
jurisdiction over alleged offense

ATE TIME AUTHORIZATION GIVEN

200A

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